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 4
     Attorney for JOSE ALCALA-GARCIA
 5

 6                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                   ) No. 2:19-CR-00003 JAM
 8
                     Plaintiff,                      )
 9                                                   ) STIPULATION AND ORDER
             v.                                      ) MODIFYING THE SCHEDULE FOR
10                                                   ) MR. ALCALA-GARCIA’S PRE-SENTENCE
                                                     ) REPORT FOR A NEW SENTENCING DATE
11
     JOSE ARNULFO ALCALA-GARCIA,                     ) OF FEBRUARY 2, 2021
12
                                                     )
                        Defendant.                   ) Judge: Hon. John A. Mendez
13   ================================)
          Defendant Jose Alcala-Garcia is requesting a continuance of his sentencing hearing, which is
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15
     presently set for December 1, 2020. AUSA Alexis Nelsen, on behalf of the United States Attorney’s

16   Office, and USPO Aylin McFarland, on behalf of the United States Probation Office, have no
17   objection to the requested continuance. The final PSR was filed on May 28, 2020. The parties hereby
18
     stipulate to re-set the schedule for the pre-sentence report as follows:
19
             Judgment and Sentencing Date: February 2, 2021
20
             Reply, or Statement of Non-opposition: January 26, 2021
21

22           Motion for Correction of the Presentence Report shall be filed with the Court and
             served on the Probation Officer and opposing counsel no later than: January 19, 2021
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24
     Dated: October 22, 2020                                 Respectfully submitted,
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                                                             /s/ Michael D. Long
26                                                           MICHAEL D. LONG
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                                                             Attorney for Jose Alcala-Garcia

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 1   Dated: October 22, 2020                           McGREGOR SCOTT
                                                       United States Attorney
 2

 3                                                     /s/ Alexis Nelsen
                                                       ALEXIS NELSEN
 4                                                     Assistant U.S. Attorney
 5
                                                ORDER
 6
           GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
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           The Court hereby orders that the schedule for Mr. Alcala-Garcia’s pre-sentence report is
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     amended as follows:
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10         Judgment and Sentencing Date: February 2, 2021

11         Reply, or Statement of Non-opposition: January 26, 2021
12
           Motion for Correction of the Presentence Report shall be filed with the Court and
13         served on the Probation Officer and opposing counsel no later than: January 19, 2021

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     DATED: October 22, 2020                  /s/ John A. Mendez
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                                              THE HONORABLE JOHN A. MENDEZ
16                                            UNITED STATES DISTRICT COURT JUDGE
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